       Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 1 of 30




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION
True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
                                                §   Cause No. 3:14-cv-00532-HTW-LRA
v.                                              §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.                              §

                 SUMMARY JUDGMENT EXHIBITS – VOLUME 5

Exhibit          Description
12               Declaration of Susan Morse and Incident Reports
13               Declaration of Roy Nicholson
14               Harding Affidavit
15               July 26, 2014 E-Mail Correspondence from Amanda Frusha
16               Press Release from The Honorable Delbert Hosemann
     Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 2 of 30




17          Attorney General Opinion No. 94-0699 dated November 2, 1994
18          E-Mail Correspondence from Kimberly Turner




                                     2
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 3 of 30




                                                              EXHIBIT 12
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 4 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 5 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 6 of 30




                                                             EXHIBIT 12-A
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 7 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 8 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 9 of 30




                                                               EXHIBIT 12-B
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 10 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 11 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 12 of 30




                                                              EXHIBIT 12-C
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 13 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 14 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 15 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 16 of 30




                                                              EXHIBIT 12-D
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 17 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 18 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 19 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 20 of 30




                                                            EXHIBIT 13
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 21 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 22 of 30




                                                              EXHIBIT 14
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 23 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 24 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 25 of 30
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 26 of 30




                                                               EXHIBIT 15
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 27 of 30




                                                             EXHIBIT 16
             Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 28 of 30


Senator F. Michael Gunn, 1994 WL 683385 (1994)




                                               1994 WL 683385 (Miss.A.G.)

                                                Office of the Attorney General

                                                     State of Mississippi
                                                     Opinion No. 94-0699
                                                     November 2, 1994

*1 Senator F. Michael Gunn
20th District
P.O. Box 31613
Jackson, MS 39286

Dear Senator Gunn:
The Attorney General has received your request for an opinion and has assigned it to me for research and reply. Your query
(attached) was whether the list of voters voting in party primaries in Rankin County was available under the Open Records
Act, whether local officials are required to respond in a timely manner and what recourse you have if the records are
available under the Open Records Act and local authorities refuse to comply.

In response to your first question, the information you seek is not exempt from the Public Records Act. The pollbooks used in
a particular election are public records and must be made available to the public. The pollbooks will have the word “voted”
opposite the name of each voter who cast a ballot in the election. See Mississippi Code Annotated, Section 23–15–545
(Revised 1990).

The “receipt booklet” which contains the signatures of each voter who voted is required to be locked and sealed in the ballot
box along with the used and unused ballots and certain other materials. See MCA 23–15–591. The “receipt booklets”
therefore are, in our opinion, not subject to the Public Records Act.

We note that the 1994 primaries included congressional primaries and that such materials from elections involving federal
offices must be preserved for a period of twenty-two (22) months following the election. See 42 USCA 1974.

In response to your second question, the county registrar is required to make the pollbooks containing the information sought
available within one (1) day after a written request is made, unless the county board of supervisors has provided by proper
order that county officials may take up to fourteen (14) working days to respond to such requests. See MCA 25–61–5.

If a public official refuses to comply with a proper request in a timely manner, the person denied the record may institute suit
in the chancery court of the county in which the public body is located. See MCA 25–61–13.
 Sincerely,

Mike Moore
Attorney General
By: Phil Carter
Assistant Attorney General

                                               1994 WL 683385 (Miss.A.G.)
End of Document                                                    © 2014 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2014 Thomson Reuters. No claim to original U.S. Government Works.                                               1
                                                                                                                  EXHIBIT 17
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 29 of 30




                                                               EXHIBIT 18
Case 3:14-cv-00532-NFA Document 83-5 Filed 08/06/14 Page 30 of 30
